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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Ronald Jeffrey Prible

v.                                           Case Number: 4:09−cv−01896

Lorie Davis




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Keith P Ellison
PLACE:
Courtroom 3A Houston
United States District Court
515 Rusk Ave
Houston, TX
DATE: 5/2/2019

TIME: 01:00 PM
TYPE OF PROCEEDING: Evidentiary Hearing


Date: May 1, 2019
                                                        David J. Bradley, Clerk
